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                            IN THE LJNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION

 SPECTRUM WT, et al.,

              Plaintiffs,

 v                                                             2:23-CV-048-Z

 WALTER WENDLER, et al.,

              Defendants.

                                                NOTICE

         On January 31,2024, Plaintiffs moved for an injunction pending appeal ("Plaintiffs' Motion")

(ECF No. 82). And they further requested that the Court "expedite consideration of this motion for

resolution by February 9,2024." Id. at2. Defendants oppose the motion and its request for expedited

consideration. ECF No. 84.

         Pursuant to the Northem District of Texas's Local Civil Rule 7.1(e), "[a] response and brief to

an opposed motion must be fied within 2l days from the date the motion is filed." (emphasis added).

That is a longstanding norm and the Court declines to alter it here. Accordingly, Defendants shall

respond to Plaintiffs' Motion on or before February 2112024.

         The Court issues notice accordingly.

         Febru ary   {roz4
                                                                  W J. KACSMARYK
                                                                  STATES DISTRICT JIJDGE
